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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA               )
                                       )
                   v.                  )            Case No. 19-CR-449
                                       )
KENNETH W. RAVENELL, et al.,           )
                                       )
      Defendants.                      )


    MOTION AND MEMORANDUM IN SUPPORT FOR PRELIMINARY
  FACT DETERMINATION ON APPLICATION OF THE CRIME FRAUD
EXCEPTION TO ATTORNEY-CLIENT AND WORK-PRODUCT PRIVILEGE
          AS APPLED TO THE KWR COMBINED NOTES

      In determining at the grand jury stage whether crime-fraud vitiates attorney-

client and work-product privileges, it is enough if the government makes a prima

facie case, without the need for formal testimony or adversarial proceedings. But for

use of privileged evidence at trial, more is required—an adversary proceeding at

which the government sustains a prima facie showing.

      As the D.C. Circuit has explained,

      because of the need for speed and simplicity at the grand jury stage,
      courts should not employ a standard that requires them to hear
      testimony or to determine facts from conflicting evidence. The necessary
      amount of evidence should be roughly the same as that required to meet
      a burden of production, see C. Mc Cormick, supra note 43, s 338 at 789.
      At trial, however, it may be more appropriate to treat the prima facie
      determination of crime or fraud as a preliminary fact to be found by the
      court after hearing sufficient evidence. Compare Duplan Corp. v.
      Deering Milliken, Inc., supra note 57, 540 F.2d at 1222.


In re Sealed Case, 676 F.2d 793, 815 n. 88 (D.C. Cir. 1982). Later, the Supreme Court

emphasized the need for a greater showing of crime-fraud for privileged evidence
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being disclosed in a public setting. United States v. Zolin, 491 U.S. 554 (1989) (“In

fashioning a standard for determining when in camera review is appropriate, we

begin with the observation that “in camera inspection ... is a smaller intrusion upon

the confidentiality of the attorney-client relationship than is public disclosure.” Fried,

Too High a Price for Truth: The Exception to the Attorney–Client Privilege for

Contemplated Crimes and Frauds, 64 N.C.L.Rev. 443, 467 (1986). We therefore

conclude that a lesser evidentiary showing is needed to trigger in camera review than

is required ultimately to overcome the privilege. Ibid. The threshold we set, in other

words, need not be a stringent one”). As the Third Circuit later explained,

      If the party seeking to apply the exception has made its initial showing,
      then a more formal procedure is required than that entitling plaintiff to
      in camera review. The importance of the privilege, as we have discussed,
      as well as fundamental concepts of due process require that the party
      defending the privilege be given the opportunity to be heard, by evidence
      and argument, at the hearing seeking an exception to the privilege. See
      Pet. at 33–34. We are concerned that the privilege be given adequate
      protection, and this can be assured only when the district court
      undertakes a thorough consideration of the issue, with the assistance of
      counsel on both sides of the dispute.

Haines v. Liggett Grp. Inc., 975 F.2d 81, 96–97 (3d Cir. 1992), as amended (Sept. 17,

1992). The Fourth Circuit anticipated these cases long ago, stating in the context of

the crime-fraud exception at the grand jury phase, as follows:

      It was not at this stage of the proceedings required to prove the crime or
      fraud in order to secure the evidence. This leads us to add, perhaps
      unnecessarily, that in denying the writ, we express no opinion upon the
      facts or law touching upon the merits of the case. Nor do we foreclose
      Union Camp, or others, if an indictment be returned, from moving to
      suppress the evidence or otherwise objecting to its admission.

Union Camp Corp. v. Lewis, 385 F.2d 143, 144 (4th Cir. 1967).



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      During the motions phase of this case, the court heard no evidence, much less

sufficient evidence to reach the conclusion that the government has made a prima

facie case of crime-fraud with respect to the KWR Combined Notes. Rather, the court

relied on the same information it had relied on in the non-adversarial context to

conclude that a prima facie case had been made.

      The problem with that approach at this phase is that the only basis for the

government’s claim that the defendants knowingly prepared a list of false exculpatory

statements to show the witness was the statement in the Brown, Goldstein & Levy

search warrant affidavit that the affying agent had read the government interviews

of witnesses that Messrs. Treem and Ravenell were alleged to have reviewed and he

“knew” that the government reports were true and the KWR Combined Notes were

false. ECF 245, Exhibit 1 at 10-11. Obviously, the opinion of a government agent is

not evidence and it remained a mystery to defendants how the government thought

it would prove that knowledge.

      The indictment alleges that the defendants knew that the KWR Combined

Notes contained false exculpatory statements.         Throughout the proceedings,

defendants puzzled over how the government, consistent with the presumption of

innocence, could prove that Mr. Ravenell knew the statements to be false. But even

more puzzling was the question of how Mr. Treem, who was not present for any of the

events described in the KWR Combined Notes could know that the notes contained

falsehoods.




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      While defendants cannot be certain what the government’s thinking is, given

that Mr. Treem must have first-hand knowledge of truth and was not present for any

of the events recounted on the KWR Combined Notes, it may be that the government

intends to recapitulate this approach with hearsay evidence that does not comply

with the Federal Rules of Evidence.

      The government lists as Exhibit 231, a set of investigative reports given in the

Richard Byrd case, according to the exhibit label, redacted to correspond with

statements in the KWR Combined Notes, that the government will presumably claim

were shown by Mr. Byrd’s counsel to Messrs. Treem and Ravenell. The investigative

reports that the government proposes to introduce, supposedly to establish the

defendants’ state of knowledge, are rank hearsay, which the law says should not be

relied upon for the truth of the matters asserted in them. The government apparently

would argue that the defendants were obliged to accept as true what the jury would

be prohibited from considering for its truth because of the inherent unreliability of

hearsay. This makes no sense.

      Before the reports are admitted for a non-hearsay purpose, they must first be

found relevant and not unduly prejudicial under Federal Rules of Evidence 401 and

403. Whatever pretextual non-hearsay purpose the government attempts to

articulate, the probative value of the reports are clearly outweighed by the risk that

jurors will view the reports for an improper and unconstitutional purpose—to show

that the contents of the reports are true. See United States v. Becker, 230 F.3d 1224

(10th Cir. 2000) (finding non-hearsay statements were unduly prejudicial because



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they went precisely to the issue the government was required to prove). It is

inconceivable that jurors will be able to find that Messrs. Treem and Ravenell knew

the contents of the reports were true without the jurors themselves considering the

contents of the reports for their truthfulness.

      Moreover, if the government proposes to introduce investigative records to

establish that the reports are true and the KWR Combined Notes are false, the

government runs afoul of the Sixth Amendment right to confrontation and Fed. R.

Evid. 803(8). As the Supreme Court stated in Melendez-Diaz v. Massachusetts, 557

U.S. 305, 321-322 (2009),

      Documents kept in the regular course of business may ordinarily be
      admitted at trial despite their hearsay status. See Fed. Rule Evid.
      803(6). But that is not the case if the regularly conducted business
      activity is the production of evidence for use at trial. Our decision in
      Palmer v. Hoffman, 318 U.S. 109, 63 S.Ct. 477, 87 L.Ed. 645 (1943),
      made that distinction clear. There we held that an accident report
      provided by an employee of a railroad company did not qualify as a
      business record because, although kept in the regular course of the
      railroad's operations, it was “calculated for use essentially in the court,
      not in the business.” Id., at 114, 63 S.Ct. 477.7 The analysts’
      certificates—like police reports generated by law enforcement officials—
      do not qualify as business or public records for precisely the same
      reason. See Rule 803(8) (defining public records as “excluding, however,
      in criminal cases matters observed by police officers and other law
      enforcement personnel”).

      Simply put, government reports of interviews are not evidence, nor are

documents prepared for judicial proceedings. Using them as testimonials to the truth

of the matters stated therein is not allowed. As the Fifth Circuit has explained,

      Under Supreme Court precedent, a statement is testimonial if made for
      the primary purpose of establishing “past events potentially relevant to
      later criminal prosecution.” Davis, 547 U.S. at 822, 126 S.Ct. 2266; see



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       also Bullcoming, 131 S.Ct. at 2714 n. 6, 2716–17; Michigan v. Bryant, –
       –– U.S. ––––, 131 S.Ct. 1143, 1155–57, 1165, 179 L.Ed.2d 93 (2011).
United States v. Duron-Caldera, 737 F.3d 988, 995 (5th Cir. 2013).

       Government reports cannot be used to show a critical element of the offense:

that defendants knew the KWR Combined Notes were false. See United States v.

Burruss, 418 F.2d 677 (1969) (In a criminal case, use of a public record to establish

the element of a crime deprives the defendant of a constitutionally guaranteed right

to confront his accuser). The reports can no more be used to establish truth or falsity

of Mr. Ravenell’s involvement with Mr. Byrd and his Drug Trafficking Organization

than can the agent testifying as to his opinion of the same.1

       The time has come. This is not a jury issue because admission of the statements

denies the defendants their Sixth Amendment Rights. United States v. Williams, 632

F.3d 129, 132 (4th Cir. 2011). There needs to be a preliminary showing that the

defendants knew before meeting with Mr. Byrd that the statements were false or

there is no crime-fraud exception—only a defense attorney and an investigator doing

their job.

       If the court is disinclined to re-visit the applicability of the crime-fraud

exception, then we would ask the court to consider the admissibility of Exhibit 231

under the hearsay rules and Federal Rule of Evidence 403.




1 The state of mind exception in Fed. R. Evid. 803(3) is of no assistance to the
government, as it is only applicable to the declarant’s state of mind when the
declarant said what he did. The agents’ state of mind when he prepared the report is
of no relevance.
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                           CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of December, 2021, I caused a copy of
Defendants’ Motion and Memorandum in Support for Preliminary Fact
Determination on Application of the Crime Fraud Exception to Attorney-Client and
Work-Product Privilege as Applied to the KWR Combined Notes to be served upon
counsel for the United States of America via ECF and that true and correct copies of
the filings are available to all parties through ECF and/or PACER.


                                      /s/ Robert P. Trout
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